               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                :
                                        :
                  v.                    :      1:17CR460-1
                                        :
PAULA KAY BULLOCK                       :


         GOVERNMENT’S FED. R. EVID. RULE 902(11) NOTICE

      NOW COMES the United States of America, by through Matthew G.T.

Martin, United States Attorney for the Middle District of North Carolina, and

gives notice to defendant PAULA KAY BULLOCK and the Court, of the

intention of the government to introduce certain business records by

certification pursuant to Rules 803(6) and 902(11) of the Federal Rules of

Evidence. The business records described below have been made available for

inspection and review by the defendants through counsel. The certification of

such records are attached as follows:

Fifth Third Bank
   1. Certificate of Authenticity of Business Records of Fifth Third Bank
      Custodian – 10/15/17
      Account number xxxxxx6363 and xxxxxx6355- McFynn PC Doing
      Business as Affordable Animal Care of Durham.

American Express
  2. Affidavit of American Express Custodian of Business Records-8/17/17
     Account xxxxxxxxxxxx3008, account of person whose initials are J. F.



Vantiv Corporation


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   3. Certificate of Authenticity of Business Records-9/26/17
      Vantiv Merchant records for Affordable Animal Care.

Patterson Veterinary Supply Company
  4. Certificate of Authenticity of Business Records-8/29/17
      Records of Credit Line Application and Account for McFynn, PC
      D/B/A/ Affordable Animal Care

MWI Animal Health
  5. Certificate of Authenticity of Business Records- 9/11/17
     Records of Line of Credit Application and Account for McFynn, PC
     D/B/A/ Affordable Animal Care.

FedEx Corporation
  6. Certification of Business Records-4/30/18
     Records of Account number for FedEx Account number xxxx-6466-1 in
     the name of person whose initials are C.W.

      Accordingly, the government requests that the Court admit the evidence

described herein.

      This the 6th day of August, 2018.

                                   Respectfully submitted,

                                   MATTHEW G.T. MARTIN
                                   UNITED STATES ATTORNEY

                                   /S/ K.P. KENNEDY GATES
                                   Special Assistant US Attorney
                                   NCSB # 41259

                                   /S/ FRANK J. CHUT, JR.
                                   Assistant United States Attorney
                                   NCSB # 17696
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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 6, 2018, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the following:

      Paul Dubbeling, Esq.


                                      Respectfully submitted,


                                      /S/ FRANK J. CHUT, JR
                                      Assistant United States Attorney
                                      NCSB # 17696
                                      United States Attorney's Office
                                      Middle District of North Carolina
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